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                    EXHIBIT 6
                         Case 8:22-cv-02237-SDM-AAS Document 86-6 Filed 08/07/23 Page 2 of 2 PageID 1547
                                                                  --. WWW

                                                                work
                                                         git log 6c57541d -n2

it show bac2ebbd -- www/smarty/rumble.com/email/emailActivation.tpl
c2ebbd53fd4a000c8dlf034e237f24fd812a7f
ebojsha Milosavlevski <nebojsha@rumble.com>
ri Feb 25 14:39:54 2022

-deactivation Fix some user activation bugs

t a/www/smarty/rumble.com/email/emailActivation.tpl b/www/smarty/rumble.com/email/emailActivation.tpl
aeb492 .. 0587f6be7 100644
/smarty/rumble.com/email/emailActivation.tpl
/smarty/rumble.com/email/emailActivation.tpl
+1,10 @@
me to Rumble.com!</p>

e click on the following link to confirm your email address is valid:</p>
ef="https://rumble.com/register.php?uid={$toUid}&activationid={$key}">Click here to activate your account</a></p>
ef="https://rumble.com/register.php?activationld={$key}">Click here to activate your account</a></p>

natively, you can copy and paste the following link into your address ba r :</p>
ef="https://rumble.com/register.php?uid={$toUid}&activationid={$key}">https://rumble.com/register.php?uid={$toUid}&activationid={$key}
ef="https://rumble.com/register.php?activationld={$key}">https://rumble.com/register.php?activationld={$key}</a></p>


cho ' ';{/php}<br>

it log 6c57541d -n2
57541d95e2dff5b5c16b061512dee003e2513e
928a9f3 bac2ebbd5
ebojsha Milosavlevski <nebojsha@rumble.com>
ue Apr 5 13:51:34 2022
 branch 'nebojsha-misc' into develop

c2ebbd53fd4a000c8dlf034e237f24fd812a7f
ebojsha Milosavlevski <nebojsha@rumble.com>
ri Feb 25 14:39:54 2022

-deactivation Fix some user activation bugs
